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                                      IN THE UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                SAN JOSE DIVISION

      GURMINDER SINGH,                                            Case No. 5:16-cv-03734-BLF

                                       Plaintiff,

                  v.

      GOOGLE LLC,                                                 JURY TRIAL DEMANDED

                                       Defendant.


                                                    STIPULATION OF DISMISSAL

               Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff, Gurminder Singh, and

     Defendant, Google LLC, by and through their respective counsel of record, hereby stipulate to the dismissal

     of the action. All claims that Plaintiff raised or could have raised in this action are dismissed WITH

     PREJUDICE, with each party bearing its own attorneys’ fees and costs in connection with or related to this

     matter.



     DATED: March 14, 2022                                   WILSON SONSINI GOODRICH & ROSATI
                                                             Professional Corporation

                                                             By: /s/ Dale R. Bish
                                                                   Dale R. Bish
                 ISTRIC
            TES D      TC                                    Attorneys for Defendant
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                                                             By: /s/ Michael R. Owens
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